833 F.2d 1023
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Juan E. ESTACIO, Petitioner,v.OFFICE OF PERSONNEL MANAGEMENT, Respondent.
    No. 87-3271.
    United States Court of Appeals, Federal Circuit.
    Oct. 20, 1987.
    
      Before FRIEDMAN, Circuit Judge, NICHOLS, Senior Circuit Judge, and EDWARD S. SMITH, Circuit Judge.
      PER CURIAM.
    
    
      1
      The decision of the Merit Systems Protection Board (Board) in Docket No. SE08318610303, which dismissed as untimely the petitioner's appeal from the reconsideration decision of the Office of Personnel Management that he was not entitled to a civil service annuity, is affirmed on the basis of the opinion of the administrative judge of the Board.
    
    